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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 ANTHONY LESLIE and
 TANICA LESLIE,

         Plaintiffs,
    v.                                           Civil Action File No:
                                                 1:18-CV-03831-WMR
 DAIMLER TRUCKS NORTH
 AMERICA LLC f/k/a
 FREIGHTLINER LLC,

         Defendant.

   ORDER ON PLAINTIFFS’ MOTION TO COMPEL DEFENDANT’S
     COMPLIANCE WITH RULE 30(b)(6) AND FOR SANCTIONS,
  PLAINTIFFS’ MOTION TO COMPEL, AND DEFENDANT’S MOTION
                  FOR PROTECTIVE ORDER

      This matter is before the Court on three related discovery motions: Plaintiffs’

Motion to Compel Defendant’s Compliance with Rule 30(b)(6) and for Sanctions

[Doc. 92], Plaintiffs’ Motion to Compel Discovery [Doc. 111], and Defendant’s

Motion for Protective Order [Doc. 102]. The Court, having fully considered the

record, the parties’ briefs, oral argument at the hearing on January 14, 2020, and all

applicable law, hereby enters the following Order regarding the scope of discovery

to be produced by Defendant (“DTNA”):


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      I.     Continuation of DTNA Corporate Representative Deposition on
             Other Incident Discovery

      Plaintiffs may continue the deposition of a DTNA Fed. R. Civ. P. 30(b)(6)

witness on the issue of other incidents of fuel fed fire or fuel fed tank breach in any

Freightliner Class 8 tractor with fuel tanks mounted outside of the frame rails

manufactured by DTNA from 1990 or later and involved in an incident before

January 31, 2017. The witness is required to appear for his or her deposition in

Atlanta, Georgia, at DTNA’s expense.          The deposition will be scheduled by

agreement of the parties.

      II.    Supplementation of Interrogatory Nos. 16 and 17 Relating to
             Standards

      Within thirty (30) days of this Order, DTNA shall supplement its responses to

Plaintiffs’ First Interrogatories Nos. 16 and 17 at issue in the Motion to Compel

Discovery [Doc. 111] by identifying every external and internal standard relating to

the failure modes for the subject vehicle’s fuel tank system which DTNA contends

is applicable to the design, inspection, testing, manufacture, assembly, marketing,

distribution and sale of the same. This supplementation must be made with the

specificity required by Fed. R. Civ. P. 33 to enable Plaintiffs to ascertain the

responsive information.



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      III.   Plaintiffs’ First Requests for Production of Documents Nos. 51
             through 54 Relating to Other Incidents

      In their First Requests for Production of Documents, Plaintiffs sought

documents relating to other incidents where Freightliner trucks were involved in a

fuel fed fire or fuel fed tank breach. DTNA is hereby ordered to produce the

documents in its possession, as described more specifically below, for any

Freightliner Class 8 tractors with fuel tanks mounted outside the frame rails

manufactured by DTNA from 1990 or later and involved in an incident of fuel fed

fire or fuel fed tank breach before January 31, 2017. This discovery is not limited

to only those incidents involving the same model (Columbia CL-120) or same class

(Century Class) as the truck driven by Plaintiff Anthony Leslie at the time of the

incident, but is meant to include all Freightliner Class 8 tractors manufactured by

DTNA with fuel tanks mounted outside the frame rails.

      Within thirty (30) days of this Order, DTNA shall produce the following

documents for each responsive incident:

       a.    Complaint;

      b.     Police/accident/incident/fire report(s);

       c.    Expert reports;

      d.     Deposition of DTNA Fed. R. Civ. P. 30(b)(6) witness(es);


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       e.    Photographs of the scene and vehicles.

      IV.    Plaintiffs’ First Requests for Production of Documents Nos. 7-11
             Relating to Design and Testing

      Within thirty (30) days of this Order, DTNA shall supplement its responses to

Plaintiffs’ First Request for Production Nos. 7 through 11 ((7) analyses of fuel tank

integrity; (8) alternative designs that could be used to protect and/or increase fuel

system integrity; (9) studies, evaluations, or analysis of alternative designs that could

be used to limit or restrain the movement of the front axle during a foreseeable

collision; (10) cost and/or economic reasonableness of alternative designs that could

be used to protect and/or increase fuel system integrity; and (11) patents pertaining

to alternative designs that could reduce the risk of post-collision fuel fed fires and

increase fuel tank integrity) with all responsive materials in DTNA’s possession

and/or control from January 1990 until January 31, 2017.

      V.     Plaintiffs’ Second Requests for Production of Documents Nos. 3-4
             Relating to Finite Element Analysis and Finite Element Model

      At this time, DTNA is not required to produce additional documents in

response to Plaintiffs’ Second Request for Production of Documents Nos. 3 and 4,

as these requests are specifically related to the subject vehicle in this action and

DTNA has indicated that it does not possess any additional responsive information.



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      VI.   Plaintiffs’ Request for Production of Documents Nos. 1 and 2
            Relating to Failure Modes and Effects Analysis

      Within thirty (30) days of this Order, DTNA shall produce all Design Failure

Modes and Effects Analysis, hazard analysis and/or root cause analysis documents

and manuals related to the fuel system or fuel tank location of any Class 8 truck

manufactured by DTNA from 1990 until January 31, 2017.

      VII. Sanctions

      The Court hereby DENIES Plaintiffs’ request for sanctions to be imposed

against DTNA.

      IT IS SO ORDERED this 10th day of February, 2020.




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